                            Case 6:22-bk-03050-GER                          Doc 8         Filed 08/27/22              Page 1 of 3
                                                              United States Bankruptcy Court
                                                                Middle District of Florida
In re:                                                                                                                 Case No. 22-03050-GER
Althea King                                                                                                            Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113A-6                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Aug 25, 2022                                               Form ID: Dntcdfnc                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 27, 2022:
Recip ID                 Recipient Name and Address
db                     + Althea King, 1601 Randolph Street, Deltona, FL 32725-8440

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 27, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 25, 2022 at the address(es) listed
below:
Name                               Email Address
Kenneth R Case
                                   on behalf of Debtor Althea King kcase@consumerlawattorneys.com 16701@notices.nextchapterbk.com

Laurie K Weatherford
                                   ecfdailysummary@c13orl.com

United States Trustee - ORL7/13, 7
                                  USTP.Region21.OR.ECF@usdoj.gov


TOTAL: 3
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[Dntcdfnc] [District Notice Deficient Filing New Case]



                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                          ORLANDO DIVISION
                                                          www.flmb.uscourts.gov



In re:                                                                        Case No. 6:22−bk−03050−GER
                                                                              Chapter 13
Althea King
aka Althea Donella King
aka Althea King Whittaker
aka Althea Abigail Meatly King



________Debtor*________/



                                       NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                          AND OPPORTUNITY TO CURE DEFICIENCIES

    On August 24, 2022 the above named Debtor filed a Voluntary Petition under Chapter 13 of the Bankruptcy Code.
The clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. The Debtor is
provided an opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the original
petition file date unless otherwise noted. This case may be dismissed without further notice or hearing if the Debtor
fails to timely correct the noted deficiency.

    Debtors who are not represented by an attorney shall cure deficiencies by filing the required papers with the Court
in person at the Court or by email, facsimile ("fax"), U.S. Mail, or other delivery. Debtors are strongly encouraged to
file by email as there may be delays in the Court's processing of papers received by fax, U.S. Mail, or other delivery.

Debtors may file papers in Orlando cases at the following addresses. If papers are filed by email or fax, Debtor must
also mail the papers to the Courthouse.
flmb−intake−orlando@flmb.uscourts.gov
(Fax) 407−237−8005
U.S. Bankruptcy Court
400 West Washington Street
Suite 5100
Orlando, FL 32801

           All Schedules A through J and the Summary of Your Assets and Liabilities (forms 106 for
           individuals or 206 for non−individuals) were either not filed, filed incomplete or filed using outdated
           forms as follows: ***(Summary of Schedules, Schedules A−J Not Filed)***. Pursuant to Fed. R.
           Bankr. P. 1007(b) and (c), the Debtor is directed to file the missing items with proper declaration of
           the Debtor no later than 14 days from the date the petition was filed.
           A link to updated forms is available on the Court's website at: http://www.flmb.uscourts.gov/forms/.
           If additional creditors not initially provided with the Petition are added on the Schedules, the Debtor
           is directed to include $32.00 amendment fee and provide proof of service of the Notice of Chapter 13
           Bankruptcy Case to each additional creditor. For Chapter 13 cases, a copy of the filed Chapter 13
           plan must also be served on the additional creditors.


           The Statement of Financial Affairs was not filed. The Debtor is directed to file a signed Statement of
           Financial Affairs using the form B107 for an individual or B207 for non−individuals within 14 days
           from the date the case was filed.
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The Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
pursuant to Fed. R. Bankr. P. 1007 (b)(4)(5)(6) and 11 U.S.C. § 521(a)(1)(B)(v) was not filed. The
Debtor is directed to file a signed Chapter 13 Statement of Your Current Monthly Income and
Calculation of Commitment Period (Official Form B122C) within 14 days from the date the petition
was filed. A link to updated forms is available on the Court's website at
http://www.flmb.uscourts.gov/forms/.
The Debtor failed to file a Chapter 13 Plan pursuant to Fed. R. Bankr. P. 3015(b) or filed an unsigned
Chapter 13 Plan. The Debtor is directed to file a Debtor−signed Chapter 13 plan, using the Court's
Model Chapter 13 Plan, within 14 days from the date the petition was filed, together with a certificate
of service to all parties with an attached matrix, pursuant to Local Rule 7005−1. A link to the Court's
Model Plan is available on the Court's website at
http://www.flmb.uscourts.gov/procedures/documents/Chapter13Plan.pdf

The Debtor shall pay unpaid filing fees in the amount of N/A within seven days from the date of
service of this notice. Payment shall be made by cashier’s check or money order payable to Clerk,
U.S. Bankruptcy Court at the address indicated below.



                                        FOR THE COURT
 Dated: August 25, 2022                 Sheryl L. Loesch , Clerk of Court
                                        George C. Young Federal Courthouse
                                        400 West Washington Street.
                                        Suite 5100
                                        Orlando, FL 32801


The Clerk's office is directed to serve a copy of this notice on interested parties.

*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
individuals.
